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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-60743-CIV-RUIZ/MCALILEY

  JOEL D. LUCOFF,

         Plaintiff,

  vs.

  NAVIENT SOLUTIONS, LLC, et al.,

        Defendants.
  ______________________________________/

         REPORT AND RECOMMENDATION ON CROSS MOTIONS FOR
         SUMMARY JUDGMENT AND ORDER ON MOTION TO STRIKE

         This is an action for violation of the Telephone Consumer Protection Act, 47 U.S.C.

  § 227, et seq.(“TCPA). Plaintiff Joel D. Lucoff and Defendants Navient Solutions, LLC

  (“Navient”) and Student Assistance Corporation (“SAC”) have filed cross-motions for

  summary judgment. (ECF Nos. 21, 24). The Motions have been referred to me for a report

  and recommendation, and are fully briefed. (ECF Nos. 22, 23, 25, 26, 27, 28, 30, 33, 34,

  35, 44, 45, 46, 49, 50, 54). I have carefully considered the parties’ memoranda of law, the

  pertinent portions of the record and the applicable law. For the reasons set forth below, I

  recommend that the Court grant Defendants’ Motion for Summary Judgment and deny

  Plaintiff’s Motion.




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  I.     BACKGROUND

         Plaintiff obtained various student loans to pay for his law school education. (ECF

  Nos. 22, 45 at ¶ 11). 1 In 2006, Plaintiff signed a Federal Family Education Loan Program

  (“FFELP”) Federal Consolidation Loan Application and Promissory Note. (Id. at ¶ 12).

  Navient is a servicer of student loans, and SAC is engaged in default aversion assistance

  for the guarantors of student loans made under the FFELP. (Id. at ¶¶ 1, 4). Navient and

  SAC are affiliates, (ECF Nos. 25, 34 at ¶ 19), and share technology services, which

  includes the system that stores borrowers’ consents for receiving automated calls. (ECF

  Nos. 22, 45 at ¶ 8). If a borrower consents to be called, both Navient and SAC have access

  to that information. (Id. at ¶ 9).

         In July 2012, Plaintiff signed an Automatic (Electronic) Debit Authorization form,

  and listed his cellular telephone number therein, which he sent to SAC. (Id. at ¶ 15). The

  Automatic Debit Authorization form contained the following language:

                 I, the Bank Account Holder, authorize Sallie Mae, and its agents or
                 assigns, to communicate with me in connection with this Automatic
                 Debit Authorization or any of the Customer’s current or future loans
                 being serviced by Sallie Mae using any telephone number that I
                 provide to Sallie Mae in this Authorization or in the future, even if
                 such telephone number is associated with a cellular telephone. I
                 authorize Sallie Mae to communicate with me using automated
                 telephone dialing equipment and/or artificial or pre-recorded voice
                 messages.




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    As required by Local Rule 56.1, the parties followed the same numbering scheme in their
  respective Statement of Undisputed Material Facts and Opposition thereto. Therefore, each citation
  to the factual record is to the parties’ respective Statement and Opposition, along with the relevant
  numbered paragraph(s).

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  (ECF No. 23-2 at 8). Plaintiff does not dispute that this form constitutes his express consent

  to receive automated calls from Defendants; the only dispute is whether Plaintiff could

  later revoke that consent. (ECF No. 45 at ¶¶ 15-18).

         Shortly thereafter, in September 2012, the United States District Court for the

  Western District of Washington in Mark A. Arthur, Cirilo Martinez, Pari Najafi, and

  Heather McCue v. Sallie Mae, Inc., Case No. C10-0198 JLR, entered a Settlement Order

  and Final Judgment approving a class action settlement (the “Arthur Settlement”). (ECF

  Nos. 22, 45 at ¶ 34; 23-3 at 50-57). Plaintiff is an Arthur Settlement class member. (ECF

  Nos. 22, 45 at ¶ 34).

         The complaint in Arthur alleged that Sallie Mae and/or other affiliates or

  subsidiaries of SLM Corporation violated the TCPA by placing calls to cellular telephones

  through the use of an automated dialing system and/or an artificial prerecorded voice

  without the prior express consent of the Arthur plaintiffs and putative class members. (ECF

  No. 23-3 at 9-10). Sallie Mae agreed, “as full and complete consideration” for the Amended

  Arthur Settlement Agreement, to implement “prospective practice changes” and contribute

  monetary relief. (Id. at 17). In particular, the Amended Arthur Settlement Agreement

  provides that:

                   Neither Sallie Mae nor any other affiliate or subsidiary of SLM
                   Corporation shall make use of, nor knowingly authorize anyone acting
                   on its/their behalf to make use of, an automated dialing system and/or
                   artificial or prerecorded voice, to contact the cellular telephones of
                   Settlement Class Members who have made or will make a valid and
                   timely Revocation Request.




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  (ECF No. 23-3 at 17) (emphasis supplied). The possibility of submitting a Revocation

  Request was a form of consideration provided in the Arthur Settlement. (ECF No. 23-3 at

  p. 3, ¶ 8). Plaintiff was given notice of the Arthur Settlement, but did not opt out of the

  Settlement and or submit a Revocation Request. (ECF Nos. 22, 45 at ¶¶ 34-35; 23-3 at p.

  3, ¶¶ 5-8). The Amended Arthur Settlement Agreement specifies the consequences of

  failing to submit a Revocation Request. In particular, it states that:

                Any Settlement Class Member who has not submitted or does not
                submit a valid and timely Revocation Request will be deemed to have
                provided prior express consent to the making of Calls by Sallie Mae
                or any other affiliate or subsidiary of SLM Corporation to any phone
                numbers reflected in such entities’ records.

  (ECF No. 23-3 at 19) (emphasis supplied). Plaintiff does not dispute that he provided his

  express consent to receive automated calls from Defendants via the Arthur Settlement.

  Again, the only dispute is whether Plaintiff could revoke that consent. (ECF No. 45 at ¶¶

  34-35).

         Between June 24, 2014 and April 6, 2018, Navient placed 418 calls and SAC placed

  1,700 calls to Plaintiff’s cellular telephone number regarding Plaintiff’s student loans.

  (ECF Nos. 45, 50 at ¶¶ 48, 52). Plaintiff has retained recordings of 2 pre-recorded

  voicemails he received on his cellular telephone from Navient, and 20 pre-recorded

  voicemails he received on his cellular telephone from SAC. (Id. at ¶¶ 42, 44).

         On June 24, 2014, Plaintiff called Navient regarding his consolidated federal student

  loan. (ECF Nos. 22, 45 at ¶ 19). At the beginning of the telephone call, a Navient

  representative and Plaintiff had the following exchange:

                Q: Is this your cell phone number, xxx-xxx-0907?

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                A: That is correct.

                Q: Well, to help contact you more efficiently, may Sallie Mae Bank
                and Navient and their respective subsidiaries, affiliates, and agents
                contact you at this number?

                A: Sure.

                Q: Using an auto-dialer or pre-recorded messages regarding your
                current or future accounts?

                A: No.

                Q: Yes or no?

                A: No.

  (ECF Nos. 22, 45 at ¶¶ 20-21; 30-1 at 18) (emphasis supplied).

         A few minutes later, Plaintiff accessed Navient’s website for purposes of

  completing an auto debit agreement to make payments towards his student loans. (ECF

  Nos. 22, 45 at ¶ 21). When Plaintiff accessed his online account on Navient’s website, his

  demographic information appeared on a contact information form that asked the customer

  to “[u]se this form to update and/or verify any part of your contact information. Required

  fields are marked with (*).” (ECF No. 23-1 at 20) (emphasis in original). Plaintiff’s

  cellular telephone number was already filled in (i.e., auto-populated) on the form. (ECF

  Nos. 25, 34 at ¶ 15). The field for Plaintiff’s cellular telephone was not marked with an

  asterisk and, thus, was not a required field. (ECF No. 23-1 at 20).

         A few lines below Plaintiff’s cellular telephone number was the following language:

                By providing my telephone number, I authorize SLM Corporation,
                Sallie Mae Bank, Navient Corporation and Navient Solutions, Inc.,
                and their respective subsidiaries, affiliates and agents, to contact me
                at such number using any means of communication, including, but not
                limited to, calls placed to my cellular phone using an automated

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                dialing device, calls using prerecorded messages and/or SMS text
                messages, regarding any current or future loans owned or serviced by
                SLM Corporation, Sallie Mae Bank, Navient Corporation or Navient
                Solutions, Inc., or their respective subsidiaries, affiliates and agents,
                even if I will be charged by my service provider(s) for receiving such
                communications.

  (ECF No. 23-1 at 21) (emphasis supplied). Immediately below this authorization was a

  button labeled “Submit,” which Plaintiff clicked. (ECF Nos. 22, 45 at ¶¶ 24, 26). Prior to

  clicking “Submit,” Plaintiff saw his cellular telephone number on the form and did not

  remove it. (ECF Nos. 22, 45 at ¶ 25). Since submitting his contact information form,

  Plaintiff has not attempted to revoke his consent. (ECF No. 22, 45 at ¶ 27).

  II.    ANALYSIS

         A.     Summary Judgment Standard

         Summary judgment is appropriate when the pleadings, depositions, and affidavits

  submitted by the parties show that no genuine issue of material fact exists and that the

  movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). The Court must

  view the evidence and all reasonable factual inferences therefrom in the light most

  favorable to the nonmoving party. See Sada v. City of Altamonte Springs, 434 Fed. Appx.

  845, 847 (11th Cir. 2011). To survive summary judgment, the nonmoving party must make

  “enough of a showing that the jury could reasonably find for that party.” Gilliard v. Dep’t.

  of Corrections, 500 Fed. Appx. 860, 863 (11th Cir. 2012) (citation omitted).

         The moving party bears the initial burden of showing the absence of a genuine issue

  of material fact. United States v. Four Parcels of Real Prop. in Greene & Tuscaloosa Ctys.

  in State of Ala., 941 F.2d 1428, 1437 (11th Cir. 1991) (citation omitted). The moving party


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  must show that, “on all the essential elements of its case on which it bears the burden of

  proof at trial, no reasonable jury could find for the nonmoving party.” Id. at 1438. “If the

  moving party makes such an affirmative showing, it is entitled to summary judgment unless

  the nonmoving party, in response, comes forward with significant, probative evidence

  demonstrating the existence of a triable issue of fact.” Id. (quotation marks and citations

  omitted); see also Ray v. Equifax Info. Servs., L.L.C., 327 Fed. App’x 819, 825 (11th Cir.

  2009) (once the moving party satisfies its burden, “the non-moving party must make a

  sufficient showing on each essential element of the case for which he has the burden of

  proof.”) (quotation marks and citation omitted).

         B.     Defendants are Entitled to Summary Judgment

         The TCPA makes it unlawful to “make any call (other than a call made for

  emergency purposes or made with the prior express consent of the called party) using any

  automatic telephone dialing system or an artificial or prerecorded voice…to any telephone

  number assigned to a…cellular telephone service…. unless such call is made solely to

  collect a debt owed to or guaranteed by the United States.” 47 U.S.C. § 227(b)(1)(A)(iii)

  (emphasis supplied). It is undisputed that between June 24, 2014 and April 6, 2018, Navient

  and SAC made calls to Plaintiff’s cellular telephone number using a prerecorded voice.

  (ECF Nos. 45, 50 at ¶¶ 42, 44, 48, 52). It is also undisputed that prior to June 24, 2014,

  Plaintiff provided his express consent to receive autodialed or prerecorded telephone calls

  from Defendants to his cellular telephone number. (ECF Nos. 22, 45 at ¶¶ 15-18, 34-35).

  The critical question then is whether Plaintiff revoked his consent.



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         Plaintiff argues that he revoked his consent during his June 24, 2014 telephone call

  with Navient’s representative. (ECF No. 44 at 5-6). Defendants argue that Plaintiff could

  not unilaterally revoke his consent because he provided it as part of a bargained-for

  exchange. (ECF 21 at 5-9). Defendants further argue that even if Plaintiff could and did

  revoke his prior express consent, he later consented to receive prerecorded calls from

  Defendants, which he did not thereafter attempt to revoke. (Id. at 9-11).

         As explained below, I agree that Plaintiff could not unilaterally revoke his consent

  because it was given as part of a bargained-for contract, namely the Arthur Settlement. I

  also agree that after Plaintiff’s purported revocation during his June 24, 2014 telephone

  call with Navient, he again provided his express consent to receive prerecorded calls from

  Defendants by submitting the contact information form on Navient’s website, and he has

  not revoked that consent. Accordingly, the undisputed facts establish that Defendants did

  not violate the TCPA as a matter of law. 2

                 1.      Plaintiff Could Not Revoke His Prior Express Consent Because He
                         Provided It as Part of a Bargained-For Contract

         The Eleventh Circuit has held that a consumer is “free to orally revoke any consent

  previously given” under the TCPA “in the absence of any contractual restriction to the

  contrary.” Osario v. State Farm Bank, F.S.B., 746 F.3d 1242, 1255 (11th Cir. 2014).

  Plaintiff relies on this holding to argue that he revoked his prior express consent to receive

  autodialed or prerecorded calls from Defendants because, during his June 24, 2014


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   It is therefore unnecessary to reach Defendants’ other argument, that their calls are not actionable
  under the debt-collection exemption to the TCPA because they were made “solely to collect a debt
  owed to or guaranteed by the United States.”

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  telephone call with Navient’s representative, he answered “No” when asked if Defendants

  could contact him on his cellular telephone using an auto-dialer or prerecorded messages.

  (ECF Nos. 44 at 7; 22, 45 at ¶¶ 20-21; 30-1 at 18). However, before he attempted to revoke

  his consent, Plaintiff was an Arthur class member and was bound by the Arthur Settlement.

  Fostano v. Pioneer Credit Recovery, Inc., No. 13-80511-CIV, 2014 WL 657680 at *4 (S.D.

  Fla. Feb. 20, 2014) (“[i]n the absence of a reversal of [the Arthur Settlement] Order and

  Judgement on appeal, it remains binding upon Plaintiff….”).

         The Amended Arthur Settlement Agreement is a contract in which Plaintiff

  consented to receive autodialed and prerecorded calls from Defendants to his cellular

  telephone unless he submitted a Revocation Request, which he did not. (ECF Nos. 22, 45

  at ¶¶ 34-35; 23-3 at p. 3, ¶¶ 5-6, 8; 23-3 at pp. 17, 19). The opportunity for a class member

  to submit a Revocation Request, and the class member’s express consent to receive

  automated calls if he did not timely do so, was a form of consideration provided in the

  Arthur Settlement. (ECF No. 23-3 at p. 3, ¶ 8).

         Another court, Rodriguez v. Student Assistance Corporation, No. 17-CV-01577,

  2017 WL 11050423 at *1 (E.D.N.Y. Nov. 6, 2017), considered the precise issue here:

  whether an Arthur class member who did not submit a Revocation Request can later

  unilaterally revoke his consent. The plaintiff in that case, like Plaintiff here, was an Arthur

  class member who received notice of the settlement, did not opt out, did not file a Claim

  Form, did not execute a Revocation Request and later sued the same defendants here, SAC

  and Navient, for violation of the TCPA. Id.at *1-2. The Rodriguez court recognized that as

  an Arthur class member:

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                  [P]laintiff received consideration in exchange for her consent. She did
                  not have to accept it. She could have opted out of the settlement
                  agreement. She could have executed a Revocation Agreement. By
                  choosing not to do either, she can no more maintain this action than
                  she could start a new one against Sallie Mae for conduct that formed
                  the basis of the allegations in the class action.

   Id. at *3 (citations omitted).

          The plaintiff in Rodriguez argued, as Plaintiff argues here, that her revocation was

   permissible based upon a 2015 FTC Ruling that “a caller may not limit the manner in which

   revocation may occur.” Id.; (ECF No. 44 at 7). In rejecting this argument, the Rodriguez

   court relied on the Second Circuit’s decision in Reyes v. Lincoln Auto. Fin. Servs., 861 F.3d

   51 (2d Cir. 2017), which found the 2015 FTC Ruling inapplicable because it addressed a

   consumer who gratuitously gave his consent to be contacted, which is “fundamentally

   different from revoking bargained-for consent.” Rodriguez, 2017 WL 11050423 at *3. The

   Rodgriuez court concluded that “[h]ad plaintiff submitted a Revocation Request,

   defendants would have lost the contractually granted right to contact her. But she did not,

   and that right was bargained-for consideration that she could not unilaterally revoke.” Id.

          I find the reasoning of Rodriguez and Reyes persuasive, and adopt it here to conclude

   that because Plaintiff did not submit a Revocation Request, he could not unilaterally revoke

   his express consent to receive autodialed and prerecorded calls from Defendants, which he

   gave as part of the Arthur Settlement. This conclusion is consistent with decisions of other

   courts in this Circuit.

          For example, in Medley v. Dish Network, LLC, the court considered whether a

   consumer could revoke her consent to receive automated calls from the defendant, which


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   she provided as part of the parties’ contract, a Digital Home Advantage Plan Agreement.

   Medley, No. 8:16-cv-2534, 2018 WL 4092120 at *1 (M.D. Fla. Aug. 27, 2018). The Medley

   court recognized that the Eleventh Circuit’s decision in Osario did not address the issue

   before it, “which is whether consent may be unilaterally revoked when it is given as part

   of a bargained-for contract.” Id. at *9-12. The Medley court conducted a thorough review

   of the caselaw on this issue, both within and outside this Circuit, and concluded that express

   consent provided as part of a contractual provision could not be unilaterally revoked. Id.

   (collecting cases). It reasoned that:

                 Because an agreement is a manifestation of mutual assent on the part
                 of two or more persons, it is black-letter contract law that one party to
                 an agreement cannot, without the other party’s consent, unilaterally
                 modify the agreement once it has been executed.

                                                  *****

                 Nothing in the TCPA indicates that contractually-granted consent can
                 be unilaterally revoked in contradiction to black-letter law.

   Id. at *10 (quotation marks and citations omitted). I agree with the reasoning of the Medley

   court and adopt it here.

          In sum, as reflected in the Arthur Settlement, the parties bargained for Plaintiff’s

   prior express consent to receive autodialed and prerecorded calls from Defendants to his

   cellular telephone number. Plaintiff’s attempted revocation during his June 24, 2014 call

   with Navient’s representative was not effective because Plaintiff could not unilaterally

   revoke his prior consent, which he gave as part of a bargained-for contract (i.e., the Arthur

   Settlement). Thus, Defendants’ calls to Plaintiff’s cellular telephone did not violate the

   TCPA because they had his prior express consent to make such calls. Accordingly, the

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   undisputed material facts establish as matter of law that Defendants did not violate the

   TCPA and, therefore, they are entitled to summary judgment on the Complaint.

                 2.     After His Attempted Revocation, Plaintiff Again Consented to
                        Receive Autodialed and Prerecorded Calls from Defendants

          Importantly, even had Plaintiff’s attempted revocation been effective, Defendants

   still did not violate the TCPA because Plaintiff again provided his express consent. The

   undisputed facts establish that after Plaintiff told Navient’s representative that he did not

   agree to receive autodialed and prerecorded calls from Defendants on his cellular

   telephone, he submitted his contact information form on Navient’s website, which

   expressly included his consent to receive such calls. Plaintiff argues that his submission

   did not trigger the consent clause, which begins with the phrase “[b]y providing my

   telephone number…,” because the cellular telephone number field was already populated

   in the form when he accessed Navient’s website. (ECF No. 44 at 6). In other words,

   Plaintiff contends that he had to physically input his cellular telephone number into the

   contact information form in order to “provide” it, and thereby trigger the consent clause. I

   am not persuaded.

          It is undisputed that Plaintiff previously provided his cellular telephone number to

   Defendants by, for example, writing it on his Automatic Debit Authorization form. (See

   e.g., ECF No. 23-2 at 8). It is also undisputed that Plaintiff saw his cellular telephone

   number on the contact information form before clicking “Submit.” (ECF Nos. 22, 45 at ¶

   25). Plaintiff’s cellular telephone number was not a required field, (ECF No. 23-1 at 20),

   and thus he could have removed it before submitting the contact information form, but did


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   not do so. The consent clause was clear, conspicuous and located immediately above the

   “Submit” button. (Id. at 21). And, it is undisputed that after submitting the contact

   information form, Plaintiff has not attempted to revoke his consent. (ECF No. 22, 45 at

   ¶27).

           On this record, I find that Plaintiff “provided” his cellular telephone number to

   Defendants as set forth in the consent clause, which became binding upon him when he

   submitted the contact information form. Again, the undisputed material facts establish as

   matter of law that Defendants did not violate the TCPA because they had Plaintiff’s prior

   express consent to make autodialed and prerecorded calls to his cellular telephone.

   III.    CONCLUSION AND RECOMMENDATION

           For the foregoing reasons, the Court concludes that Navient and SAC are entitled to

   judgment as a matter of law on Plaintiff’s Complaint. I therefore RESPECTFULLY

   RECOMMEND that the Court GRANT Defendants’ Motion for Summary Judgment

   (ECF No. 21) and DENY Plaintiff’s Motion for Summary Judgment (ECF No. 24).

           No later than fourteen (14) days from the date of this Report and

   Recommendation the parties may file any written objections to this Report and

   Recommendation with the Honorable Rodolfo A. Ruiz, who is obligated to make a de novo

   review of only those factual findings and legal conclusions that are the subject of

   objections. Only those objected-to factual findings and legal conclusions may be reviewed

   on appeal. See Thomas v. Arn, 474 U.S. 140 (1985), Henley v. Johnson, 885 F.2d 790, 794

   (11th Cir. 1989), 28 U.S.C. § 636(b)(1), 11th Cir. R. 3-1 (2016).



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   IV.    ORDER

          Plaintiff filed a Motion to Strike Defendants’ Reply to Plaintiff’s Opposition to

   Defendants’ Statement of Facts (the “Reply Facts”) and the Affidavit of Sheryl Highsmith

   attached thereto (the “Reply Affidavit”). (ECF No. 55). The Motion to Strike is fully

   briefed. (ECF No. 58). Plaintiff argues that the Reply Facts and Reply Affidavit are

   improper because they include additional facts that were not set forth in Defendants’ initial

   Statement of Facts. The Court did not rely on the allegedly “new” facts or the Reply

   Affidavit to resolve the parties’ cross-motions for summary judgment and, thus, it need not

   address Plaintiff’s argument. Accordingly, the Court hereby ORDERS that Plaintiff’s

   Motion to Strike (ECF No. 55) is DENIED AS MOOT.

         RESPECTFULLY SUBMITTED in chambers at Miami, Florida, this 28th day of
   May, 2019.


                                      _______________________________________
                                      CHRIS McALILEY
                                      UNITED STATES MAGISTRATE JUDGE
   cc: The Honorable Rodolfo A. Ruiz
       Counsel of record




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